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 1   DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
 2   117 J Street, Suite 202
     Sacramento, California 95814
 3   916-447-1193
 4   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 5
 6
 7
 8                                   IN THE UNITED STATES DISTRICT COURT
 9                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )                NO. 06-CR-0343-DLJ
12               Plaintiff,              )
13                                       )
           v.                            )                STIPULATION AND
14                                       )                ORDER
     PRASERT SOMSINSAWASDI,              )
15                                       )
                 Defendant.              )
16
     ____________________________________)
17
18          Prasert Somsinsawasdi by and through his attorney Dwight M. Samuel and the United States
19
     Government by and through Assistant U.S. Attorney Ben Wagner stipulate and request this court set a
20
     specific turn in date for self surrender to a location designated by the Board of Prisons for Defendant,
21
     Prasert Somsinsawasdi.
22
23          Counsel for Defendant has been advised by both the local BOP and local Probation Officer

24   Linda Alger that without a specific enumerated date for turn in that the Board of Prisons will not
25   designate a turn in location.
26
            In the sentencing of Defendant and his wife on November 13, 2008 the court sentenced Noy
27
28
                                                          1
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 1   Somsinsawadi to 30 days in custody with a turn in date of January 04, 2007. As to her husband, Prasert
 2
     Somsinsawasdi, he was sentenced to 18 months prison with a turn in date of five days after the
 3
     completion of Noy Somsinsawasdi’s 30 days of incarceration. The court opined if Mrs. Somsinsawasdi
 4
     chooses to start her time sooner, then Prasert would have 5 days after her completion to turn himself in
 5
 6   to the designated location.

 7          Both parties are requesting the court set a date certain for Prasert Somsinsawasdi to turn himself
 8   in so that a specific location can be designated.
 9
            Based upon Noy Somsinsawasdi’s turn in date and the 30 days she is to do in custody and the
10
     additional five days lag time before Prasert Somsinsawasdi’ is to be placed into custody, all parties
11
12   stipulate that the turn in date of February 08, 2008 should be the date set for Prasert Somsinsawasdi to

13   voluntarily surrender to a location designated by the Board of Prisons.

14   Respectfully submitted,
15
16
     DATED: November 16, 2007                             /s/Dwight M. Samuel
17                                                        Dwight M. Samuel
                                                          Attorney for Defendant
18
                                                          Prasert Somsinsawasdi
19
20
     DATED: November 16, 2007                             /s/ Benjamin Wagner
21                                                        Benjamin Wagner
22                                                        Assistant United States Attorney
                                                          (Signed per Telephonic authorization)
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                                                         2
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 1                                                  ORDER
                                                06-CR-0343-DLJ
 2
 3          Prasert Somsinsawasdi will self surrender on February 08, 2008 at 2pm. Defendant is to
     surrender at a location designated by the Board of Prisons, or if no designation has been made, to the
 4   United States Marshals in the Eastern District located in Sacramento, California.
 5          DATED: November 21, 2007
 6
                                                         ___________________________
 7                                                       D. Lowell Jensen
                                                         United States District Judge
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